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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
GILBERTO ARCE,
                Petitioner,

                v.                                                   5:04-CV-00933

UNITED STATES OF AMERICA,

                  Respondent,
_________________________________________________________________________
 APPEARANCES:                             OF COUNSEL:

GILBERTO ARCE
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HOWARD G. MUNSON, SR. J.


                        MEMORANDUM DECISION AND ORDER

       In June 1997, Petitioner was convicted of selling cocaine as a participant in a narcotics

dealing conspiracy in New York State. On April 28, 1998, he was sentenced to 150 months

imprisonment, to be followed by 5 years of supervised relief. His conviction became final in

2001. He now moves for collateral review under 28 U.S.C. § 2255, to have his sentence vacated

set aside, or corrected upon his claim that the sentence imposed was unconstitutional because

“the jury was not charged nor did they find a type, quantity, or quality of substance, therefore,

Petitioner should be resentenced to the lowest term under the Sentencing Guidelines which the

jury’s verdict authorized.
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       Petitioner bases his claims on the United States Supreme Court’s decisions in Apprendi

v. New Jersey,    530 U.S. 466, 120 S. Ct. 2348, 147 L. Ed.2d 435 (2000), and Blakely v.

Washington, 542 U.S. 296, 124 S. Ct., 159 L. Ed.2d 403 (2004).

       In Apprendi v.New Jersey, the Supreme Court found that “[o]ther than the fact of a prior

conviction, any fact that increases the penalty for a crime beyond the prescribed statutory

maximum must be submitted to a jury, and proved beyond a reasonable doubt.” 530 U.S. at 488,

120 S. Ct. at 226. In Blakely v. Washington, 542 U.S. 296, 124 S. Ct. 2521, 159 L. Ed.2d 403

(2004), the Supreme Court applied Apprendi and elaborated that the “statutory maximum for

Apprendi purposes is the maximum sentence a judge may impose solely on the basis of the facts

reflected in the jury verdict or admitted by the defendant.” 542 U.S. 303, 124 S. Ct. at 2537.

Finally, in United States v. Booker, 543 U.S. 220, 258-59, 125 S. Ct. 738, 764, 160 L. Ed.2d 621

(2005), the Supreme Court applied Apprendi and Blakely to the United States Sentencing

Guidelines, ruling that the mandatory application of the Guidelines violates the Sixth

Amendment and excising provisions making the Guidelines mandatory, but otherwise leaving

the Guidelines in place.

       Booker and Blakely do not apply retroactively to matters on collateral review. See Green

v. United States, 397 F.3d 101, 2005 WL 237204 (2d Cir.2005) (holding that neither Blakely

nor Booker apply retroactively). Petitioner's reliance on these cases, therefore, affords him no

relief. Petitioner's reliance on Apprendi is mistaken. He claims that the court violated Apprendi

by increasing his sentence on the basis of facts not submitted to a jury. However, there is

nothing in the Apprendi decision requiring a jury determination on sentencing enhancements

that result in a sentence below the statutory maximum. The Second Circuit’s holding that drug


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quantity is an element of an § 841 offense does not preclude a district court from considering

drug quantity in determining a defendant's relevant conduct for sentencing purposes pursuant

to U.S.S.G §1B1.3(a), in cases where quantity is not charged in the indictment or found by the

jury, so long as the resulting sentence does not exceed the statutory maximum. United States v.

White, 240 F.3d 127, 135-36 (2d Cir.2001); cf. United States v. Garcia, 240 F.3d 180, 183 (2d

Cir.) (“We see nothing in the [Supreme] Court's holding in Apprendi or its explication of the

holding that alters a sentencing judge's traditional authority to determine those facts relevant to

selection of an appropriate sentence within the statutory maximum ....”), cert. denied, 533 U.S.

960, 121 S. Ct. 2615, 150 L. Ed.2d 769 (2001). The constitutional rule of Apprendi does not

apply where the sentence imposed is not greater than the prescribed statutory maximum for the

offense of conviction. United States v. McLeod, 251 F.3d 78, 82 (2d Cir.), cert. denied, 534 U.S.

935, 122 S. Ct. 304, 151 L. Ed.2d 226 (2001).

                Here, a jury found the Petitioner guilty on three counts of the indictment, 28

U.S.C. § 846 - Conspiracy to possess with intent to distribute and to distribute cocaine, (Count

2) and, 21 U.S.C. § 841(a)(1) - Distribution of cocaine (Count 5 and 7)). Petitioner was

sentenced to 210 months imprisonment on each Count, to be served concurrently, followed by

five years of supervised relief. The applicable statutory penalty for conspiracy to distribute and

distribution of any quantity of cocaine is imprisonment for up to 20 years, 21 U.S.C.§

841(b)(1)(C) Petitioner's sentence of 150 months (12.5 years) falls well below the statutory

maximum. Apprendi, therefore, is inapplicable to the present case.

       Petitioner's claim that his counsel's alleged failure to raise Apprendi arguments on direct

appeal constitutes ineffective assistance of counsel is meritless. When Apprendi was decided


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prior to the appeal in Petitioner’s case, the parties thereto submitted supplemental letter briefs

to the Court of Appeals concerning the impact of Apprendi . When the issue was not discussed

in the appeals decision, the defendants moved for a rehearing. The motion was denied and the

appeals court ruled that the Apprendi issue should be addressed by the District Court. Therefore,

Apprendi was brought to the appeals court attention, considered, and left to examination by the

District Court. The Second Circuit remanded the case for three of the defendants for

resentencing, rejected the arguments of the other defendants, including Petitioner’s, and

affirmed their convictions.

       It is apparent, then, that the Second Circuit considered the Apprendi decision in

connection with its decision on Petitioner’s direct appeal, and, therefore, his 2255 motion

seeking collateral relief has not been procedurally defaulted, and, furthermore, it demonstrates

that Petitioner’s ineffective assistance of counsel claim is unsubstantiated.

       Accordingly, for the foregoing reasons, Petitioner’s motion to vacate, set aside, or correct

his sentence pursuant to 28 U.S.C. § 2255 is DENIED. Further, a certificate of appealability

shall not issue because Petitioner has not demonstrated a substantial showing of a constitutional

violation. See 28 U.S.C. § 2253(c)(2).

       IT IS SO ORDERED

       Dated: May 22, 2007
              Syracuse, New York




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